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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


     In re:                                                  Chapter 11

     UNCONDITIONAL LOVE INC., et al., 1                      Case No. 23-11759 (MFW)

                                Debtors.                     (Jointly Administered)


                     NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                      HEARING ON NOVEMBER 21, 2023 AT 9:00 A.M. (ET)


                                          ZOOM INSTRUCTIONS:

        This hearing will be conducted entirely over Zoom and requires all participants
     to register in advance. COURTCALL WILL NOT BE USED FOR THIS HEARING.

                      Please use the following link to register for this hearing:
    https://debuscourts.zoomgov.com/meeting/register/vJIsfu6spj4oG66MR7dzjHIU_H4mhxa_zlI

                  After registering your appearance by Zoom, you will receive a
               confirmation email containing information about joining the hearing.


UNCONTESTED MATTERS WITH CERITIFCATIONS FILED

1.        Debtors’ Motion for Interim and Final Orders (I) Prohibiting Utility Companies from
          Altering, Refusing, or Discontinuing Utility Services, (II) Deeming Utility Companies
          Adequately Assured of Future Payment, (III) Establishing Procedures for Resolving
          Objections by Utility Companies and Determining Additional Adequate Assurance of
          Payment, and (IV) Granting Related Relief [D.I. 4; 10/23/23]

          Related Pleadings:

                   a)       Interim Order [D.I. 50; 10/24/23]

                   b)       Omnibus Notice of First Day Pleadings and Final Hearing Thereon [D.I. 64;
                            10/25/23]

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      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
      number, are Unconditional Love Inc. d/b/a Hello Bello (5895), Unconditional Love Canada, Inc., and The Best
      Training Pants in the World Inc. (9369). The Debtors’ headquarters is located at 17383 Sunset Blvd, Suite B200,
      Pacific Palisades, CA 90272.
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               c)   Certification of Counsel [D.I. 109; 11/16/23]

     Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                   Official Committee of Unsecured Creditors]

     Objections/Informal Responses:

               d)   Informal Response from the Official Committee of Unsecured Creditors

     Status:        A revised proposed form of order has been submitted under certification of
                    counsel. A hearing is only necessary to the extent the Court has questions
                    or concerns.

2.   Debtors’ Motion for Interim and Final Orders (I) Authorizing Debtors to Pay Certain
     Prepetition Taxes and Fees and Related Obligations and (II) Authorizing the Bank to Honor
     and Process Check and Electronic Transfer Requests Related Thereto [D.I. 5; 10/23/23]

     Related Pleadings:

               a)   Interim Order [D.I. 51; 10/24/23]

               b)   Omnibus Notice of First Day Pleadings and Final Hearing Thereon [D.I. 64;
                    10/25/23]

               c)   Certification of Counsel [D.I. 110; 11/16/23]

     Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                   Official Committee of Unsecured Creditors]

     Objections/Informal Responses:

               d)   Informal Response from the Official Committee of Unsecured Creditors

     Status:        A revised proposed form of order has been submitted under certification of
                    counsel. A hearing is only necessary to the extent the Court has questions
                    or concerns.

3.   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to Redact
     Certain Personally Identifiable Information, (II) Modifying Requirements Related to the
     List of Equity Holders, (III) Authorizing Special Electronic Noticing Procedures for DTC
     Customers, and (IV) Granting Related Relief [D.I. 6; 10/23/23]

     Related Pleadings:

               a)   Interim Order [D.I. 52; 10/24/23]



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               b)   Omnibus Notice of First Day Pleadings and Final Hearing Thereon [D.I. 64;
                    10/25/23]

               c)   Certificate of No Objection [D.I. 121; 11/17/23]

     Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                   Official Committee of Unsecured Creditors]

     Objections/Informal Responses:       None.

     Status:        A certificate of no objection has been filed. A hearing is only necessary to
                    the extent the Court has questions or concerns.

4.   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to (A) Pay
     Certain Prepetition Employment Obligations and (B) Maintain Employee Benefits
     Programs and (II) Granting Related Relief [D.I. 7; 10/23/23]

     Related Pleadings:

               a)   Interim Order [D.I. 53; 10/24/23]

               b)   Omnibus Notice of First Day Pleadings and Final Hearing Thereon [D.I. 64;
                    10/25/23]

               c)   Certification of Counsel [D.I. 111; 11/16/23]

     Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                   Official Committee of Unsecured Creditors]

     Objections/Informal Responses:

               d)   Informal Response from the Official Committee of Unsecured Creditors

     Status:        A revised proposed form of order has been submitted under certification of
                    counsel. A hearing is only necessary to the extent the Court has questions
                    or concerns.

5.   Debtors’ Motion for Interim and Final Orders (I) Authorizing the Debtors to (A) Continue
     to Maintain Their Cash Management System, (B) Honor Certain Prepetition Obligations
     Related Thereto, and (C) Continue to Perform Intercompany Transactions; (II) Extending
     Time to Comply with Section 345(b); and (III) Granting Related Relief [D.I. 8; 10/23/23]

     Related Pleadings:

               a)   Interim Order [D.I. 54; 10/24/23]



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               b)   Omnibus Notice of First Day Pleadings and Final Hearing Thereon [D.I. 64;
                    10/25/23]

               c)   Certification of Counsel [D.I. 112; 11/16/23]

     Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                   Official Committee of Unsecured Creditors]

     Objections/Informal Responses:

               d)   Informal Response from the Official Committee of Unsecured Creditors

     Status:        A revised proposed form of order has been submitted under certification of
                    counsel. A hearing is only necessary to the extent the Court has questions
                    or concerns.

6.   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
     Maintain and Administer Their Existing Customer Programs and Honor Certain Prepetition
     Obligations Related Thereto, (II) Authorizing the Bank to Honor and Process Check and
     Electronic Transfer Requests Related Thereto, and (III) Granting Related Relief [D.I. 9;
     10/23/23]

     Related Pleadings:

               a)   Interim Order [D.I. 55; 10/24/23]

               b)   Omnibus Notice of First Day Pleadings and Final Hearing Thereon [D.I. 64;
                    10/25/23]

               c)   Certification of Counsel [D.I. 115; 11/16/23]

     Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                   Official Committee of Unsecured Creditors]

     Objections/Informal Responses:

               d)   Informal Response from the Official Committee of Unsecured Creditors

     Status:        A revised proposed form of order has been submitted under certification of
                    counsel. A hearing is only necessary to the extent the Court has questions
                    or concerns.

7.   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Pay
     Certain Prepetition Claims of Certain Critical Vendors, Shippers & Logistics Providers and
     503(b)(9) Claimants; and (II) Granting Related Relief [D.I. 10; 10/23/23]



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     Related Pleadings:

               a)   Interim Order [D.I. 56; 10/24/23]

               b)   Omnibus Notice of First Day Pleadings and Final Hearing Thereon [D.I. 64;
                    10/25/23]

               c)   Certification of Counsel [D.I. 124; 11/17/23]

     Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                   Official Committee of Unsecured Creditors]

     Objections/Informal Responses:

               d)   Informal Response from the Official Committee of Unsecured Creditors

     Status:        A revised proposed form of order has been submitted under certification of
                    counsel. A hearing is only necessary to the extent the Court has questions
                    or concerns.

8.   Debtors’ Application for Appointment of Stretto, Inc. as Administrative Advisor, Effective
     as of the Petition Date [D.I. 69; 10/31/23]

     Related Pleadings:

               a)   Certificate of No Objection [D.I. 116; 11/16/23]

     Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                   Official Committee of Unsecured Creditors]

     Objections/Informal Responses:       None.

     Status:        A certificate of no objection has been filed. A hearing is only necessary to
                    the extent the Court has questions or concerns.

9.   Debtors’ Application to Employ and Retain Emerald Capital Advisors Corp. as a Financial
     Advisor to the Debtors, Effective as of the Petition Date [D.I. 70; 10/31/23]

     Related Pleadings:

               a)   Certification of Counsel [D.I. 117; 11/16/23]

     Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                   Official Committee of Unsecured Creditors]




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      Objections/Informal Responses:

                b)   Informal Response from the Office of the United States Trustee

      Status:        A revised proposed form of order has been submitted under certification of
                     counsel. A hearing is only necessary to the extent the Court has questions
                     or concerns.

10.   Debtors’ Application for Entry of an Order (A) Authorizing the Retention and Employment
      of Jefferies LLC as Investment Banker for the Debtors and Debtors in Possession Pursuant
      to 11 U.S.C. §§ 327(a) and 328(a), Effective as of the Petition Date and (B) Waiving
      Certain Time-Keeping Requirements [D.I. 71; 10/31/23]

      Related Pleadings:

                a)   Certification of Counsel [D.I. 118; 11/16/23]

                b)   Supplemental Declaration of Robert White in Support of Debtors’
                     Application for Entry of an Order (A) Authorizing the Retention and
                     Employment of Jefferies LLC as Investment Banker for the Debtors and
                     Debtors in Possession Pursuant to 11 U.S.C. §§ 327(a) and 328(a), Effective
                     as of the Petition Date and (B) Waiving Certain Time-Keeping
                     Requirements [D.I. 123; 11/17/23]

      Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                    Official Committee of Unsecured Creditors]

      Objections/Informal Responses:

                c)   Informal Response from the Office of the United States Trustee

      Status:        A revised proposed form of order has been submitted under certification of
                     counsel. A hearing is only necessary to the extent the Court has questions
                     or concerns.

11.   Debtors’ Application for an Order Authorizing the Retention and Employment of Young
      Conaway Stargatt & Taylor, LLP as Co-Counsel for the Debtors, Effective as of the
      Petition Date [D.I. 72; 10/31/23]

      Related Pleadings:

                a)   Certification of Counsel [D.I. 119; 11/16/23]

      Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                    Official Committee of Unsecured Creditors]




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      Objections/Informal Responses:

                b)   Informal Response from the Office of the United States Trustee

      Status:        A revised proposed form of order has been submitted under certification of
                     counsel. A hearing is only necessary to the extent the Court has questions
                     or concerns.

12.   Debtors’ Application for an Order Authorizing the Retention and Employment of Willkie
      Farr & Gallagher LLP as Co-Counsel for the Debtors, Nunc Pro Tunc to the Petition Date
      [D.I. 73; 10/31/23]

      Related Pleadings:

                a)   Certificate of No Objection [D.I. 120; 11/16/23]

      Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                    Official Committee of Unsecured Creditors]

      Objections/Informal Responses:       None.

      Status:        A certificate of no objection has been filed. A hearing is only necessary to
                     the extent the Court has questions or concerns.

13.   Debtors’ Motion for Entry of an Administrative Order Establishing Procedures for Interim
      Compensation and Reimbursement of Expenses of Professionals [D.I. 84; 11/7/23]

      Related Pleadings:

                a)   Certificate of No Objection [D.I. 122; 11/17/23]

      Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                    Official Committee of Unsecured Creditors]

      Objections/Informal Responses:       None.

      Status:        A certificate of no objection has been filed. A hearing is only necessary to
                     the extent the Court has questions or concerns.

14.   Debtors’ Motion for Order (A) Establishing Bar Dates and Related Procedures for Filing
      Proofs of Claim (Including for Claims Arising Under Section 503(b)(9) of the Bankruptcy
      Code) and (B) Approving the Form and Manner of Notice Thereof [D.I. 85; 11/7/23]

      Related Pleadings:

                a)   Certification of Counsel [D.I. 113; 11/16/23]



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      Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                    Official Committee of Unsecured Creditors]

      Objections/Informal Responses:

                b)   Informal Response from the Official Committee of Unsecured Creditors

      Status:        A revised proposed form of order has been submitted under certification of
                     counsel. A hearing is only necessary to the extent the Court has questions
                     or concerns.

15.   Debtors’ Motion for an Order Authorizing (A) the Debtors to Retain, Employ, and
      Compensate Certain Professionals Utilized by the Debtors in the Ordinary Course of
      Business Effective as of the Petition Date and (B) Waiving Certain Information
      Requirements of Local Rule 2016-2 [D.I. 86; 11/7/23]

      Related Pleadings:

                a)   Certification of Counsel [D.I. 114; 11/16/23]

      Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                    Official Committee of Unsecured Creditors]

      Objections/Informal Responses:

                b)   Informal Response from the Official Committee of Unsecured Creditors

      Status:        A revised proposed form of order has been submitted under certification of
                     counsel. A hearing is only necessary to the extent the Court has questions
                     or concerns.

MATTERS GOING FORWARD

16.   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
      Obtain Postpetition Financing, Granting Senior Postpetition Security Interests, and
      According Superpriority Administrative Expense Status Pursuant to Sections 364(c) and
      364(d) of the Bankruptcy Code, (II) Authorizing the Use of Cash Collateral, (III) Granting
      Adequate Protection, (IV) Modifying the Automatic Stay, and (V) Granting Related Relief
      [D.I. 11; 10/23/23]

      Related Pleadings:

                a)   Declaration of Robert White in Support of Debtors' Motion for Entry of
                     Interim and Final Orders (I) Authorizing the Debtors to Obtain Postpetition
                     Financing, Granting Senior Postpetition Security Interests and According



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                     Superpriority Administrative Expense Status Pursuant to Section 364(c) and
                     364(d) of the Bankruptcy Code, (II) Authorizing the Use of Cash Collateral,
                     (III) Granting Adequate Protection, (IV) Modifying the Automatic Stay,
                     and (V) Granting Related Relief [D.I. 13; 10/23/23]

                b)   Declaration of John P. Madden in Support of the Debtors' Motion for Entry
                     of Interim and Final Orders (I) Authorizing the Debtors to Obtain
                     Postpetition Financing, Granting Senior Postpetition Security Interests and
                     According Superpriority Administrative Expense Status Pursuant to Section
                     364(c) and 364(d) of the Bankruptcy Code, (II) Authorizing the Use of Cash
                     Collateral, (III) Granting Adequate Protection, (IV) Modifying the
                     Automatic Stay, and (V) Granting Related Relief [D.I. 14; 10/23/23]

                c)   Interim Order [D.I. 63; 10/25/23]

                d)   Omnibus Notice of First Day Pleadings and Final Hearing Thereon [D.I. 64;
                     10/25/23]

                e)   Notice of Filing of Proposed Final DIP Order [D.I. 89; 11/9/23]

      Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                    Official Committee of Unsecured Creditors]

      Objections/Informal Responses:

                f)   Informal Response from the Official Committee of Unsecured Creditors

      Status:        The Debtors have extended the deadline to object to this matter to
                     November 18, 2023 at 12:00 a.m. (PT) solely for the Official Committee of
                     Unsecured Creditors as the parties continue to engage in discussions. This
                     matter is going forward.

17.   Debtors’ Motion for Entry of an Order (I) Authorizing the Rejection of the Equipment
      Leases, Effective as of the Rejection Effective Date, and (II) Granting Related Relief [D.I.
      16; 10/23/23]

      Related Pleadings:

                a)   Notice of Hearing [D.I. 57; 10/24/23]

      Objection Deadline:           November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                    Official Committee of Unsecured Creditors]

      Objections/Informal Responses:

                b)   Limited Objection of SCG Capital Corporation [D.I. 101; 11/14/23]



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      Status:        The Debtors and the responding party continue to engage in discussions
                     regarding this matter. If the parties reach a resolution, the Debtors will
                     submit a revised form of order under certification of counsel prior to the
                     hearing, otherwise this matter will be going forward.

18.   Motion of the Debtors for Entry of Orders (I) (A) Approving Bidding Procedures for the
      Sale of Substantially All of the Debtors Assets, (B) Authorizing the Debtors to Enter Into
      the Stalking Horse APA and to Provide the Stalking Horse Bid Protections Thereunder,
      (C) Scheduling an Auction and a Sale Hearing and Approving the Form and Manner of
      Notice Thereof, (D) Approving Assumption Procedures, and (E) Granting Related Relief;
      and (II) (A) Approving the Sale of the Debtors Assets Free and Clear of Liens, Claims,
      Interests, and Encumbrances, (B) Approving the Assumption and Assignment of Executory
      Contracts and Unexpired Leases, and (C) Granting Related Relief [D.I. 17; 10/23/23]

      Related Pleadings:

                a)   Notice of Hearing [D.I. 58; 10/24/23]

                b)   Declaration of Robert J. White in Support of Motion of the Debtors for
                     Entry of Orders (I) (A) Approving Bidding Procedures for the Sale of
                     Substantially All of the Debtors Assets, (B) Authorizing the Debtors to
                     Enter Into the Stalking Horse APA and to Provide the Stalking Horse Bid
                     Protections Thereunder, (C) Scheduling an Auction and a Sale Hearing and
                     Approving the Form and Manner of Notice Thereof, (D) Approving
                     Assumption Procedures, and (E) Granting Related Relief; and (II) (A)
                     Approving the Sale of the Debtors Assets Free and Clear of Liens, Claims,
                     Interests, and Encumbrances, (B) Approving the Assumption and
                     Assignment of Executory Contracts and Unexpired Leases, and (C)
                     Granting Related Relief [D.I. 102; 11/14/23]

      Objection Deadline:          November 14, 2023 at 4:00 p.m. (ET) [Extended for the
                                   Official Committee of Unsecured Creditors]

      Objections/Informal Responses:

                c)   Informal Response from the Official Committee of Unsecured Creditors

      Status:        The Debtors have extended the deadline to object to this matter to
                     November 18, 2023 at 12:00 a.m. (PT) solely for the Official Committee of
                     Unsecured Creditors as the parties continue to engage in discussions. This
                     matter is going forward.




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Dated: November 17, 2023
       Wilmington, Delaware

                               YOUNG CONAWAY STARGATT & TAYLOR,
                               LLP

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                               Proposed Co-Counsel to the Debtors
                               and Debtors in Possession




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